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EXHIBIT 19

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@ email: drnudman@gmail:c

May 27, 2021
To Whom It May Concern

This is to let you know that Dr, Aaron Weinreb (DOB 8/28/1971) has been under my care sitice
7/16/20.

Dr, Weinreb has been treated for diagnosis of Major Depression, Anxiety Disorder and Impulse
Disorder. He has been managed on a regimen of medication (including Prozac, Trazodone and
Klonopin) and psychotherapy with very good results. He has been markedly compliant with his
follow up appointments and medication and has attended his therapy and SA sessions

consistently, He has consistently shown great commitment to his recovery and stability,

In this context, Dr. Weinreb has made significant progress. His ability to regulate and control his
impulses seems significantly Increased. His capacity for decision making seems improved Qs
well. He shows remorse and guilt about his past actions and is able to verbalize how he plang.to
prevent falling Into negative behaviors in the future. He is actively working on setting things up.in
his life to that effect, including building a healthy structure for his days including prayer, study
and talking to positive people in his life,

He has reached a point on his recovery where we have been able to discontinue his
medications and continue his treatment on psychotherapy only

All of this this indicates a good prognosis for Dr. Weinreb going forward.
Please contact me with any further questions regarding this matter.

Sincerely,

Alfredo Nudman, MD
Assistant Professor of Psychi
Weill Cornell Medical Collage

